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                                                                             6

                                                                             7                                   UNITED STATES DISTRICT COURT
                                                                             8                                 NORTHERN DISTRICT OF CALIFORNIA
                                                                             9
                      150 POST STREET, SUITE 742, SAN FRANCISCO, CA 94108




                                                                            10   MICHAEL A. VILLALOBOS,                               Case No. CV 12-00138-MEJ

                                                                            11          Plaintiff,                                    PLAINTIFF MICHAEL VILLALOBOS’S
                                                                            12
                                                                                                                                      FIRST AMENDED COMPLAINT
                                                                                 vs.
                                   TELEPHONE: (415) 296-8420
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                                                                            13                                                          (1) DISABILITY DISCRIMINATION AND/OR
                                                                                 TOM VILSACK, Secretary, U.S.                               REGARDED AS DISABLED IN VIOLATION OF
                                                                            14   Department of Agriculture,                                 THE REHABILITATION ACT (29 U.S.C. §701)
                                                                                                                                        (2) RETALIATION IN VIOLATION OF THE
                                                                            15          Defendant.                                          REHABILITATION ACT
                                                                                                                                        (3) RACE DISCRIMINATION IN VIOLATION OF
                                                                            16                                                              TITLE VII OF THE CIVIL RIGHTS ACT
                                                                                                                                        (4) NATIONAL ORIGIN DISCRIMINATION IN
                                                                            17                                                              VIOLATION OF TITLE VII
                                                                                                                                        (5) RETALIATION IN VIOLATION OF TITLE VII
                                                                            18                                                          (6) FAILURE TO GRANT FAMILY CARE AND
                                                                                                                                            MEDICAL LEAVE IN VIOLATION OF FMLA
                                                                            19                                                          (7) FAILURE TO REINSTATE IN VIOLATION OF
                                                                                                                                            FMLA
                                                                            20                                                          (8) RETALIATION IN VIOLATION OF FMLA

                                                                            21                                                        JURY TRIAL DEMANDED

                                                                            22          Plaintiff Michael A. Villalobos amends his complaint against Defendant Tom Vilsak, in his

                                                                            23   official capacity as Secretary of the U.S. Department of Agriculture, demands a trial by jury of all

                                                                            24   issues, and for causes of action alleges:

                                                                            25                                                   PARTIES

                                                                            26          1.      Plaintiff Michael A. Villalobos (hereafter “Plaintiff” or “Villalobos”) is a United

                                                                            27   States citizen and resides in the State of California.

                                                                            28          2.      Defendant Tom Vilsack is the Secretary of the United States Department of
                                                                                                                                  -1-
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
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                                                                             1   Agriculture, an agency of the United States government (hereafter “USDA”).
                                                                             2                                               JURISDICTION
                                                                             3          3.      Plaintiff brings this action under the Rehabilitation Act of 1973, 29 U.S.C. §701 (the
                                                                             4   “Rehabilitation Act”); Title VII of the Civil Rights Act of 1965, 42 U.S.C. § 2000e-2 (“Title VII”);
                                                                             5   and the Family and Medical Leave Act, 29 U.S.C. § 2601 (hereafter “FMLA”).
                                                                             6          4.      This Court has original jurisdiction pursuant to 28 U.S.C. §1331 over civil actions
                                                                             7   arising under the Constitution, laws or treaties of the United States.
                                                                             8          5.      This Court further has jurisdiction pursuant to 28 U.S.C. §§ 1343(3) and (4), which
                                                                             9   give district court’s jurisdiction over actions to secure civil rights extended by the United States
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                                                                            10   government.
                                                                            11                          EXHAUSTION OF ADMINISTRATIVE PROCEEDINGS
                                                                            12          6.      On or about July 16, 2010, Villalobos received notice from Forest Supervisor, Peggy
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                                                                            13   Hernandez (“Hernandez”), that he had been terminated from his position as a probationary career-
                                                                            14   conditional Forestry Technician from the Los Padres National Forest. (See Exhibit A attached hereto
                                                                            15   and incorporated as if fully set forth herein)
                                                                            16          7.      In or around the final week of July 2010, Villalobos made two phone calls to
                                                                            17   Hernandez, the person who issued the termination letter, to complain about the reasons for his
                                                                            18   termination. Villalobos was only able to speak with Hernandez’s assistant, who informed Villalobos
                                                                            19   that he would not be allowed to ever speak with Hernandez. Villalobos never received a return phone
                                                                            20   call from Hernandez.

                                                                            21          8.      Within a matter of days, i.e. late July or early August 2010, Villalobos placed three

                                                                            22   separate phone calls to his immediate supervisor, Erik Van Walden (“Van Walden”) in order to

                                                                            23   discuss the basis for the termination notice and to complain that the termination was, in Villalobos’s

                                                                            24   opinion, discriminatory. Villalobos never received a return phone call from Van Walden.

                                                                            25          9.      The termination notice issued by Hernandez to Villalobos included misleading (and

                                                                            26   contradictory) information as to the steps Villalobos could take to appeal the USDA’s termination

                                                                            27   decision. The notice stated that Villalobos could appeal the termination decision to the Merit

                                                                            28   Services Protection Board (“MSPB”) or he could file an EEO discrimination complaint with the
                                                                                                                            -2-
                                                                                                                                  PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
                                                                                                                                                                   CASE # CV 12-00138-MEJ
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                                                                             1   USDA’s internal EEO officer. (See Ex. A at pp. 3-4.) However, unbeknownst to Villalobos, the
                                                                             2   USDA’s statement of alternate remedies (MSPB or internal EEO processes) was in fact misleading as
                                                                             3   Villalobos had no right – as a probationary employee – to appeal his termination decision to the
                                                                             4   MSPB, as further discussed below.
                                                                             5          10.     On or about August 13, 2010, Villalobos initiated a claim with the MSPB. On or
                                                                             6   about December 9, 2010, the MSPB dismissed Villalobos’s claim solely on jurisdictional grounds
                                                                             7   asserting that Villalobos was not an “employee,” as defined in 5 U.S.C. § 7511(a), because of his
                                                                             8   probationary assignment. (See Exhibit B, Initial Decision, Villalobos v. Dept. of Agriculture, Docket
                                                                             9   # SF-315H-10-0919-I-1 (December 9, 2010) attached hereto and incorporated as if fully set forth
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                                                                            10   herein.). Since Villalobos was not an “employee” and not subject the MSPB’s jurisdiction, the
                                                                            11   Administrative Judge never reached the merits of Villalobos’s claim. (See Ex. B. at 6.)
                                                                            12          11.     On or about November 3, 2010, Villalobos contacted the EEO office within the
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                                                                            13   USDA/Forestry Service and was assigned an EEO counselor, Joel Benavidez. (See Ex. C, December
                                                                            14   3, 2010 letter.) Although Villalobos raised multiple issues with Benavidez, including what he felt
                                                                            15   was race discrimination, disability discrimination, and discrimination because of taking leave to care
                                                                            16   for his daughter, Benavidez never opened a formal EEO investigation. Benavidez simply informed
                                                                            17   Villalobos that he had to speak to his superiors.
                                                                            18          12.     After Villalobos heard nothing from his assigned EEO counselor or the USDA’s EEO
                                                                            19   office for several weeks, he again contacted Benavidez, who then issued the December 3, 2010 letter
                                                                            20   (Ex. C) indicating that Villalobos had to file a formal charge to begin the EEO process. Villalobos
                                                                            21   promptly filed a formal complaint on or about December 14, 2010.
                                                                            22          13.     The USDA issued a final decision on or about March 21, 2011 dismissing Villalobos
                                                                            23   complaint of discrimination stating that his charge was untimely filed. (See Ex. D, Final Agency
                                                                            24   Decision, Villalobos v. Vilsak, Secretary, Dept. of Agriculture, USDA Complaint No. FS-2011-00092
                                                                            25   (March 21, 2011) attached hereto and incorporated as if fully set forth herein.)
                                                                            26          14.     Villalobos timely appealed the USDA’s decision to the Equal Employment
                                                                            27   Opportunity Commission (“EEOC”). On or about October 3, 2011, the EEOC affirmed the USDA’s
                                                                            28   decision dismissing Villalobos’ complaint solely on the basis of “untimely” contact with an EEO
                                                                                                                               -3-
                                                                                                                               PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
                                                                                                                                                                CASE # CV 12-00138-MEJ
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                                                                             1   Counselor. (See Exhibit E, EEOC Decision, Villalobos v. Vilsak, Secretary, Dept. of Agriculture,
                                                                             2   Appeal No. 0120112620 (October 3, 2011) attached hereto and incorporated as if fully set forth
                                                                             3   herein.)
                                                                             4          15.     Pursuant to the EEOC’s dismissal, within 90 days of service of the dismissal,
                                                                             5   Villalobos timely filed a complaint in this Court on January 6, 2012.
                                                                             6

                                                                             7                                        FACTUAL ALLEGATIONS
                                                                             8          16.     Villalobos first began his employment with the U.S. Forest Service in June 2002 as a
                                                                             9   seasonal employee within the Los Padres National Forest. Although a seasonal employee,
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                                                                            10   Villalobos’s assignment was renewed each year because of his outstanding performance.
                                                                            11          17.     In his 2005 performance review, Villalobos was given the highest ranking including
                                                                            12   comments by his supervisor that he was a “self-starter;” “knows what needs to be done . . . and goes
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                                                                            13   out and accomplishes it;” and “gets along well with co-workers. Always willing to help out.”
                                                                            14          18.     In July 2009, Villalobos was appointed as a probationary career-conditional Forestry
                                                                            15   Technician in the El Dorado National Forest. In January 2010, Villalobos requested and was granted
                                                                            16   a hardship transfer back to the Los Padres National Forest. Villalobos requested the transfer in order
                                                                            17   to provide care for his teenage daughter’s serious health condition. During this time, Villalobos often
                                                                            18   took intermittent time off work to take his daughter to medical appointments and to assist in her care.
                                                                            19   Although never informed of his rights under the Family Medical Leave Act (“FMLA”) to take job-
                                                                            20   protected leave, Villalobos used a combination of sick leave, annual leave, and vacation time to care
                                                                            21   for his daughter.
                                                                            22          19.     In late March 2010, Villalobos was reassigned to the Santa Maria detail under the
                                                                            23   temporary supervision of Ken Kunert. Immediately after his assignment, Kunert began to treat
                                                                            24   Villalobos differently than other similarly situated employees, including belittling Villalobos’s work
                                                                            25   performance, following Villalobos around to monitor his work, and expressing frustration when
                                                                            26   Villalobos took time off to care for his daughter.
                                                                            27          20.     In late April 2010, Villalobos strained his neck while lifting five-gallon jugs of water
                                                                            28   out of a truck and was diagnosed with C-T strain and cervical muscle spasm. Villalobos was able to
                                                                                                                               -4-
                                                                                                                               PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
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                                                                             1   return to work on modified duty from April 30 to June 9, 2010. Over this time period, Villalobos
                                                                             2   medical condition improved and he was eventually released to full duty by June 9, 2010. Because of
                                                                             3   his medical disability, Villalobos was provided a light duty assignment working in the Santa Maria
                                                                             4   office.
                                                                             5             21.    On or about May 22, 2010, Villalobos complained to Kunert about what he felt was
                                                                             6   discrimination because of his Mexican nationality and ancestry; discrimination because of his own
                                                                             7   medical issues and disability which did not allow Villalobos to perform his normal job duties; that
                                                                             8   Kunert was treating him differently because of light duty assignment (and his inability to perform his
                                                                             9   normal duties as a Forestry Technician); and because of having taken time off to care for his
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                                                                            10   daughter’s serious health condition. In a document prepared during the meeting, Kunert laughed at
                                                                            11   Villalobos’s complaints and wrote in large block letters “MEXICAN,” gave a copy to Villalobos, but
                                                                            12   stated that it was not a write up or disciplinary notice.
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                                                                            13             22.    In early June 2010, Villalobos complained to several other Forest Service employees
                                                                            14   about what he felt was discriminatory conduct by his immediate supervisor, Ken Kunert. The
                                                                            15   persons complained to include Theresa Krellie, Human Resources representative; Kathleen Phelps,
                                                                            16   Santa Maria District Ranger; and Lloyd McWilliams, OHV Manager in Santa Maria.
                                                                            17             23.    Villalobos took a medical leave of absence beginning on or about June 10, 2010 to
                                                                            18   treat his own serious health condition.
                                                                            19             24.    While on medical leave, Villalobos was terminated for alleged “use of discourteous
                                                                            20   language toward employees” as set forth in a memo letter dated July 13, 2010 (See Exhibit A.).
                                                                            21   Villalobos did not learn of his termination until July 16 2010 when he received a termination letter in
                                                                            22   the mail.
                                                                            23
                                                                                                                       First Cause of Action
                                                                            24                       DISABILITY DISCRIMINATION AND/OR REGARDED AS DISABLED
                                                                                                             IN VIOLATION OF THE REHABILITATION ACT
                                                                            25                                        (29 U.S.C. §701 ET SEQ.)
                                                                            26             As a first, separate and distinct cause of action, plaintiff complains against defendant Tom

                                                                            27   Vilsak and for a cause of action alleges:

                                                                            28             25.    Plaintiff re-alleges and incorporates into this Cause of Action each and every
                                                                                                                                  -5-
                                                                                                                                 PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
                                                                                                                                                                  CASE # CV 12-00138-MEJ
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                                                                             1   allegation set forth in paragraphs 1 through 24 as though fully set forth in this cause of action.
                                                                             2          26.     The Rehabilitation Act, 29 U.S.C. § 701 et seq., prohibits any agency of the Executive
                                                                             3   branch from discriminating against an employee in compensation, or in the terms, conditions, or
                                                                             4   privileges of employment because of the employee’s physical disability or perception that an
                                                                             5   employee is physically disabled.
                                                                             6          27.     Plaintiff is and was an “individual with a disability” which includes persons who (a)
                                                                             7   have a physical or mental impairment which substantially limits one or more of the person’s major
                                                                             8   life activities; (b) has a record of such an impairment; or (c) is regarded as having such an impairment
                                                                             9   as defined in 29 U.S.C. § 705(20) and 42 U.S.C. § 12102.
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                                                                            10          28.     A person is “regarded” as having a disability where the individual is subjected to a
                                                                            11   prohibited employment practice because of “an actual or perceived physical or mental impairment
                                                                            12   whether or not the impairment limits or is perceived to limit a major life activity.”
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                                                                            13          29.     Villalobos was a disabled individual fully qualified and competent to perform the
                                                                            14   essential duties to which he was assigned, prior to his disabling condition was performing those job
                                                                            15   duties, and was fully capable and competent to perform the essential functions of the job had he been
                                                                            16   reinstated with a reasonable accommodation.
                                                                            17          30.     Plaintiff is informed and believes, and thereon alleges, that from the time of plaintiff’s
                                                                            18   serious injury, in April, 2010, and until his termination, defendant regarded plaintiff as being a
                                                                            19   “disabled” individual as defined in 29 U.S.C. § 705.
                                                                            20          31.     Defendant, through its acts and omissions, knowingly and intentionally discriminated
                                                                            21   against Villalobos because of his physical disability or that it regarded him as disabled, in violation of
                                                                            22   the Rehabilitation Act, by engaging in the course of conduct more fully set forth in the preceding
                                                                            23   paragraphs of this complaint. This course of conduct included, but was not limited to: refusing to
                                                                            24   provide reasonable accommodation for Villalobos’s physical disability even though defendant was
                                                                            25   aware that his disability only precluded him from driving and certain strenuous physical activities;
                                                                            26   refusing to let him resume his former position as Forestry Technician, the duties of which he was
                                                                            27   able to perform; refusing to engage in any form of interactive process to determine if there was any
                                                                            28   reasonable accommodation that could be made for his physical disability; and ultimately terminating
                                                                                                                            -6-
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
                                                                                                                                                                 CASE # CV 12-00138-MEJ
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                                                                             1   his employment, all because of Villalobos’s physical disability.
                                                                             2            32.    As a direct and proximate cause of the unlawful discrimination by defendant,
                                                                             3   Villalobos suffered damages proximately caused by defendant’s wrongful acts as stated in the section
                                                                             4   below entitled “DAMAGES” which is incorporated here to the extent pertinent as if set forth here in
                                                                             5   full.
                                                                             6
                                                                                                                    Second Cause of Action
                                                                             7                        RETALIATION IN VIOLATION OF THE REHABILITATION ACT
                                                                             8                                 (29 U.S.C. § 794, 29 CFR § 1630.12)
                                                                                          As a second, separate and distinct cause of action, plaintiff complains against defendant Tom
                                                                             9
                                                                                 Vilsak and for a cause of action alleges:
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                                                                            10
                                                                                          33.    Plaintiff re-alleges and incorporates into this Cause of Action each and every
                                                                            11
                                                                                 allegation set forth in paragraphs 1 through 32 as though fully set forth in this cause of action.
                                                                            12
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                                                                                          34.    Under the Rehabilitation Act, 29 U.S.C. §794 and 29 C.F.R. §1630.12, a federal
                                                                            13
                                                                                 employer is prohibited from retaliating against an employee because he has opposed an unlawful
                                                                            14
                                                                                 employment practice or “has made a charge, testified, assisted, or participated in any manner in an
                                                                            15
                                                                                 investigation, proceeding, or hearing.”
                                                                            16
                                                                                          35.    Villalobos opposed what he felt were his supervisor’s unlawful employment practices
                                                                            17
                                                                                 in treating him differently than other similarly situated non-disabled employees and confronting his
                                                                            18
                                                                                 supervisor about this disparate treatment.
                                                                            19
                                                                                          36.    Following Villalobos’ complaints to his immediate supervisor and to other supervisors
                                                                            20
                                                                                 in his department, Kunert and others retaliated against Villalobos by taking the following actions: (a)
                                                                            21
                                                                                 failing to conduct any objective investigation into Villalobos’s complaints of discrimination; (b)
                                                                            22
                                                                                 threatening to terminate Villalobos’s employment if he persisted in his complaints; and (c) ultimately
                                                                            23
                                                                                 terminating Villalobos’s employment.
                                                                            24
                                                                                          37.    As a direct and proximate cause of the unlawful discrimination by defendant,
                                                                            25
                                                                                 Villalobos suffered damages proximately caused by defendant’s wrongful acts as stated in the section
                                                                            26
                                                                                 below entitled “DAMAGES” which is incorporated here to the extent pertinent as if set forth here in
                                                                            27
                                                                                 full.
                                                                            28
                                                                                                                                 -7-
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
                                                                                                                                                                 CASE # CV 12-00138-MEJ
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                                                                             1
                                                                                                                      Third Cause of Action
                                                                             2                                 EMPLOYMENT DISCRIMINATION (RACE)
                                                                                                        IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                                                                             3
                                                                                                                      (42 U.S.C. § 2000e-2)
                                                                             4
                                                                                          As a third, separate and distinct cause of action, plaintiff complains against defendant Tom
                                                                             5
                                                                                 Vilsak and for a cause of action alleges:
                                                                             6
                                                                                          38.    Plaintiff re-alleges and incorporates into this Cause of Action each and every
                                                                             7
                                                                                 allegation set forth in paragraphs 1 through 37 as though fully set forth in this cause of action.
                                                                             8
                                                                                          39.    Title VII of the 1964 Civil Rights Act, 42 U.S.C. §2000e-2, prohibits an employer
                                                                             9
                                                                                 from discriminating against an employee because of that employee’s race. Moreover, an employee
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                                                                            10
                                                                                 may not be discharged or otherwise discriminated against for filing a complaint or reasonably based
                                                                            11
                                                                                 charges of discrimination.
                                                                            12
                                   TELEPHONE: (415) 296-8420




                                                                                          40.    Defendant, through its acts and omissions, knowingly and intentionally discriminated
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                                                                            13
                                                                                 against Villalobos because of his race (Hispanic), in violation of Title VII, by engaging in the course
                                                                            14
                                                                                 of conduct more fully set forth in the preceding paragraphs of this complaint. This course of conduct
                                                                            15
                                                                                 included, but was not limited to terminating his employment because of his race and in retaliation for
                                                                            16
                                                                                 his initiating a complaint of employment discrimination to his management and to his Human
                                                                            17
                                                                                 Resources department.
                                                                            18
                                                                                          41.    Defendant’s unlawful practices as outlined herein were in direct contravention of Title
                                                                            19
                                                                                 VII, as more fully set forth in the preceding paragraphs of this complaint.
                                                                            20
                                                                                          42.    As a direct and proximate cause of the unlawful discrimination by defendant,
                                                                            21
                                                                                 Villalobos suffered damages proximately caused by defendant’s wrongful acts as stated in the section
                                                                            22
                                                                                 below entitled “DAMAGES” which is incorporated here to the extent pertinent as if set forth here in
                                                                            23
                                                                                 full.
                                                                            24

                                                                            25                                       Fourth Cause of Action
                                                                                                         EMPLOYMENT DISCRIMINATION (NATIONAL ORIGIN)
                                                                            26                          IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                                                                                                                      (42 U.S.C. § 2000e-2)
                                                                            27
                                                                                          As a fourth, separate and distinct cause of action, plaintiff complains against defendant Tom
                                                                            28
                                                                                                                                 -8-
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
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                                                                             1   Vilsak and for a cause of action alleges:
                                                                             2            43.    Plaintiff re-alleges and incorporates into this Cause of Action each and every
                                                                             3   allegation set forth in paragraphs 1 through 42 as though fully set forth in this cause of action.
                                                                             4            44.    Under Title VII of the 1964 Civil Rights Act, 42 U.S.C. §2000e-2, an employer is
                                                                             5   prohibited from discriminating against an employee based on national origin. Moreover, an
                                                                             6   employee may not be discharged or otherwise discriminated against for filing a complaint or
                                                                             7   reasonably based charges of discrimination.
                                                                             8            45.    Defendant wrongfully and unlawfully imposed adverse employment actions upon
                                                                             9   plaintiff, including but not limited to termination, based on his national origin (Mexican) and in
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                                                                            10   retaliation for his initiating a complaint of employment discrimination to his management and to his
                                                                            11   Human Resources department.
                                                                            12            46.    Defendant’s unlawful practices as outlined herein were in direct contravention of Title
                                   TELEPHONE: (415) 296-8420
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                                                                            13   VII, as more fully set forth in the preceding paragraphs of this complaint.
                                                                            14            47.    As a direct and proximate cause of the unlawful discrimination by defendant,
                                                                            15   Villalobos suffered damages proximately caused by defendant’s wrongful acts as stated in the section
                                                                            16   below entitled “DAMAGES” which is incorporated here to the extent pertinent as if set forth here in
                                                                            17   full.
                                                                            18                                      Fifth Cause of Action
                                                                            19                  RETALIATION IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT
                                                                                                                    (42 U.S.C. § 2000e-3)
                                                                            20
                                                                                          As a fifth, separate and distinct cause of action, plaintiff complains against defendant Tom
                                                                            21
                                                                                 Vilsak and for a cause of action alleges:
                                                                            22
                                                                                          48.    Plaintiff re-alleges and incorporates into this Cause of Action each and every
                                                                            23
                                                                                 allegation set forth in paragraphs 1 through 47 as though fully set forth in this cause of action.
                                                                            24
                                                                                          49.    Under Title VII of the 1964 Civil Rights Act, 42 U.S.C. §2000e-3, an employer is
                                                                            25
                                                                                 prohibited from retaliating against an employee because he has opposed and unlawful employment
                                                                            26
                                                                                 practice or “has made a charge, testified, assisted, or participated in any manner in an investigation,
                                                                            27
                                                                                 proceeding, or hearing.”
                                                                            28
                                                                                                                                 -9-
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
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                                                                             1            50.    Villalobos opposed what he felt were his supervisor’s unlawful employment practices
                                                                             2   in treating him differently than other similarly situated employees (based on his race and/or national
                                                                             3   origin as a Mexican-American) and confronting his supervisor about this disparate treatment.
                                                                             4            51.    Following Villalobos’ complaints to his immediate supervisor and to other supervisors
                                                                             5   in his department, Kunert and others retaliated against Villalobos by taking the following actions: (a)
                                                                             6   failing to conduct any objective investigation into Villalobos’s complaints of discrimination; (b)
                                                                             7   threatening to terminate Villalobos’s employment if he persisted in his complaints; and (c) ultimately
                                                                             8   terminating Villalobos’s employment.
                                                                             9            52.    As a direct and proximate cause of the unlawful discrimination by defendant,
                      150 POST STREET, SUITE 742, SAN FRANCISCO, CA 94108




                                                                            10   Villalobos suffered damages proximately caused by defendant’s wrongful acts as stated in the section
                                                                            11   below entitled “DAMAGES” which is incorporated here to the extent pertinent as if set forth here in
                                                                            12   full.
                                   TELEPHONE: (415) 296-8420
THE ERLICH LAW FIRM




                                                                            13                                       Sixth Cause of Action
                                                                            14                  FAILURE TO PROVIDE FAMILY AND MEDICAL LEAVE IN VIOLATION OF
                                                                                                             THE FAMILY AND MEDICAL LEAVE ACT
                                                                            15                                     (29 U.S.C. § 2601 ET SEQ.)

                                                                            16            As a sixth, separate and distinct cause of action, plaintiff complains against defendant Tom

                                                                            17   Vilsak and for a cause of action alleges:

                                                                            18            53.    Plaintiff re-alleges and incorporates into this Cause of Action each and every

                                                                            19   allegation set forth in paragraphs 1 through 52 as though fully set forth in this cause of action.

                                                                            20            54.    The Family and Medical Leave Act at 29 U.S.C. § 2615 makes it an unlawful

                                                                            21   employment practice for an employer to refuse to allow an eligible employee to take up to 12 weeks

                                                                            22   of family care and medical leave.

                                                                            23            55.    At all times relevant herein, Villalobos was entitled to take up to 12 weeks of family

                                                                            24   care and medical leave in any 12 month period, having more than 12 months of service with

                                                                            25   defendant and more than 1,250 hours of service in the 12 month period preceding the need for family

                                                                            26   care and medical leave, as required by 29 U.S.C. § 2611.

                                                                            27            56.    Villalobos required family care and medical leave, as more fully set forth in the

                                                                            28   preceding paragraphs of this complaint, for his own serious health condition or for the serious health
                                                                                                                               - 10 -
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
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                                                                             1   condition of his child. Villalobos provided defendant with the appropriate notice necessary to invoke
                                                                             2   his rights and to request protected medical leave. Defendant however, failed to provide Villalobos
                                                                             3   with leave to which he was entitled under FMLA by terminating his employment while he was out on
                                                                             4   leave.
                                                                             5            57.    As a direct and proximate cause of the unlawful employment practices as stated in this
                                                                             6   cause of action by the defendant, Villalobos suffered damages by defendant’s wrongful acts as stated
                                                                             7   in the section below entitled “DAMAGES,” which is incorporated here to the extent pertinent as if set
                                                                             8   forth here in full.
                                                                             9
                                                                                                                    Seventh Cause of Action
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                                                                            10             FAILURE TO REINSTATE IN VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT
                                                                                                                  (29 U.S.C. § 2601 ET SEQ.)
                                                                            11

                                                                            12            As a seventh, separate and distinct cause of action, plaintiff complains against defendant Tom
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THE ERLICH LAW FIRM




                                                                            13   Vilsak and for a cause of action alleges:
                                                                            14            58.    Plaintiff re-alleges and incorporates into this Cause of Action each and every
                                                                            15   allegation set forth in paragraphs 1 through 57 as though fully set forth in this cause of action.
                                                                            16            59.    The Family and Medical Leave Act at 29 U.S.C. § 2615 makes it an unlawful
                                                                            17   employment practice for an employer to refuse to reinstate an employee or to refuse to guarantee the
                                                                            18   employee “to be restored by the employer to the position of employment held by the employee when
                                                                            19   the leave commenced; or to be restored to an equivalent position with equivalent employment
                                                                            20   benefits, pay, and other terms and conditions of employment” as provided in 29 U.S.C. § 2614.
                                                                            21            60.    At all times relevant herein, Villalobos was entitled to take up to 12 weeks of family
                                                                            22   care and medical leave in any 12 month period, having more than 12 months of service with
                                                                            23   defendant and more than 1,250 hours of service in the 12 month period preceding the need for family
                                                                            24   care and medical leave, as required by 26 U.S.C. § 2611.
                                                                            25            61.    Villalobos required family care and medical leave, as more fully set forth in the
                                                                            26   preceding paragraphs of this complaint, for his own serious health condition or for the serious health
                                                                            27   condition of his child. Villalobos provided defendant with the appropriate notice necessary to invoke
                                                                            28
                                                                                                                                - 11 -
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
                                                                                                                                                                 CASE # CV 12-00138-MEJ
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                                                                             1   his rights and to request protected medical leave. Defendants failed to reinstate Villalobos to the
                                                                             2   same or equivalent position to which he was entitled under FMLA by terminating his employment
                                                                             3   while he was out on leave.
                                                                             4           62.     Villalobos is informed and believes and on that basis alleges that the purported reason
                                                                             5   for his termination, as set forth in the preceding paragraphs of this complaint, was pretextual and a
                                                                             6   subterfuge to cover up defendant’s true intent to discriminate, retaliate against, or terminate
                                                                             7   Villalobos, or all of these for invoking his rights protected by FMLA and in violation of FMLA.
                                                                             8           63.     As a direct and proximate cause of the unlawful employment practices as stated in this
                                                                             9   cause of action by defendant, Villalobos suffered damages by defendant’s wrongful acts as stated in
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                                                                            10   the section below entitled “DAMAGES,” which is incorporated here to the extent pertinent as if set
                                                                            11   forth here in full.
                                                                            12
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THE ERLICH LAW FIRM




                                                                                                                     Eighth Cause of Action
                                                                            13                  RETALIATION IN VIOLATION OF THE FAMILY AND MEDICAL LEAVE ACT
                                                                                                                  (29 U.S.C. § 2601 ET SEQ.)
                                                                            14
                                                                                         As an eighth, separate and distinct cause of action, plaintiff complains against defendant Tom
                                                                            15
                                                                                 Vilsak and for a cause of action alleges:
                                                                            16
                                                                                         64.     Plaintiff re-alleges and incorporates into this Cause of Action each and every
                                                                            17
                                                                                 allegation set forth in paragraphs 1 through 63 as though fully set forth in this cause of action.
                                                                            18
                                                                                         65.     The Family and Medical Leave Act at 29 U.S.C. § 2615 makes it an unlawful
                                                                            19
                                                                                 employment practice for “any employer to interfere with, restrain, or deny the exercise of or the
                                                                            20
                                                                                 attempt to exercise, any [medical leave] right” or because the employee opposed the unlawful
                                                                            21
                                                                                 employment practice.
                                                                            22
                                                                                         66.     At all times relevant herein, Villalobos was entitled to take up to 12 weeks of family
                                                                            23
                                                                                 care and medical leave in any 12 month period, having more than 12 months of service with
                                                                            24
                                                                                 defendant and more than 1,250 hours of service in the 12 month period preceding the need for family
                                                                            25
                                                                                 care and medical leave, as required by 26 U.S.C. § 2611.
                                                                            26
                                                                                         67.     Villalobos required family care and medical leave, as more fully set forth in the
                                                                            27
                                                                                 preceding paragraphs of this complaint, for his own serious health condition or for the serious health
                                                                            28
                                                                                                                                - 12 -
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
                                                                                                                                                                 CASE # CV 12-00138-MEJ
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                                                                             1   condition of his child. Villalobos provided defendant with the appropriate notice necessary to invoke
                                                                             2   his rights and to request protected medical leave.
                                                                             3           68.     Defendant retaliated against Villalobos by refusing to reinstate him to his employment
                                                                             4   position and by terminating him from his employment while out on leave for the alleged reasons set
                                                                             5   forth in the preceding paragraphs of this complaint. Villalobos alleges that the purported reason for
                                                                             6   his termination was pretextual and a subterfuge to cover up defendant’s true intent to discriminate,
                                                                             7   retaliate or terminate Villalobos, or all of these in violation of the rights protected by FMLA.
                                                                             8           69.     As a direct and proximate cause of the unlawful employment practices as stated in this
                                                                             9   cause of action by defendant, Villalobos suffered damages by defendant’s wrongful acts as stated in
                      150 POST STREET, SUITE 742, SAN FRANCISCO, CA 94108




                                                                            10   the section below entitled “DAMAGES,” which is incorporated here to the extent pertinent as if set
                                                                            11   forth here in full.
                                                                            12
                                   TELEPHONE: (415) 296-8420
THE ERLICH LAW FIRM




                                                                            13                                                  DAMAGES
                                                                            14           70.     As a direct and proximate cause of defendant’s unlawful acts as set forth in this
                                                                            15   Complaint, plaintiff has suffered and continues to suffer special damages including, but not limited to
                                                                            16   substantial losses in earnings, future earnings, deferred compensation, and other employment
                                                                            17   benefits. Plaintiff is entitled to receive compensatory damages from defendant and hereby requests
                                                                            18   an award of compensatory damages according to proof. Plaintiff will seek leave to amend this
                                                                            19   complaint to state the amount or will proceed according to proof at trial.
                                                                            20           71.     As a direct and proximate cause of Defendants’ unlawful acts as set forth in this

                                                                            21   Complaint, plaintiff has suffered and continues to suffer harm by loss of his employment position,

                                                                            22   loss of future income, loss of front pay, and loss of other future employment benefits. Plaintiff is

                                                                            23   entitled to injunctive relief including reinstatement to his former employment position and hereby

                                                                            24   requests the Court order the Defendant to reinstate plaintiff to his former position as Forestry

                                                                            25   Technician, in title, job duties and responsibilities, and with all benefits plaintiff previously received

                                                                            26   before his unlawful termination (or to order compensation in lieu thereof).

                                                                            27           72.     As a direct and proximate cause of Defendants’ unlawful acts as set forth in this

                                                                            28   Complaint, plaintiff has suffered and continues to suffer general damages including the deprivation of
                                                                                                                               - 13 -
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
                                                                                                                                                                 CASE # CV 12-00138-MEJ
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                                                                             1   his right to full and equal employment opportunities, emotional distress, including but not limited to
                                                                             2   sleeplessness, recurring nightmares, anxiety, stress, depression, loss of interest in socializing and
                                                                             3   other normal activities, acute uncertainty about the future, fear, loss of confidence, diminished self-
                                                                             4   esteem, as well as financial hardship and insecurity, and other damages to be proven at the time of
                                                                             5   trial. Plaintiff is entitled to receive compensatory damages from Defendants and hereby requests an
                                                                             6   award of compensatory damages according to proof. Plaintiff will seek leave to amend this
                                                                             7   complaint to state the amount or will proceed according to proof at trial.
                                                                             8             73.   Plaintiff is informed and believes and on that, basis alleges that defendant acted
                                                                             9   willfully, knowingly, and intentionally engaging in the pattern of conduct described herein. Plaintiff
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                                                                            10   is informed and believes, and on that basis alleges that in doing the acts and in engaging in the
                                                                            11   conduct herein alleged, defendant acted in conscious disregard of the rights of plaintiff and engaged
                                                                            12   in despicable conduct which has subjected plaintiff to cruel and unjust hardship. Further, plaintiff is
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THE ERLICH LAW FIRM




                                                                            13   informed and believes and on that basis alleges that defendant in doing the acts and engaging in the
                                                                            14   conduct herein alleged acted with a willful and conscious disregard for the property or legal rights of
                                                                            15   Plaintiff. Because defendant has acted with such oppression, fraud and malice, plaintiff is entitled to
                                                                            16   exemplary or punitive damages, in an amount that will punish defendant for the conduct described
                                                                            17   herein and in an amount that will deter them and others from engaging in similar conduct in the
                                                                            18   future.
                                                                            19             74.   As a result of Defendants’ wrongful and unlawful employment practices as set forth in
                                                                            20   the preceding paragraphs of this complaint, Plaintiff is entitled to receive an award of statutory
                                                                            21   attorneys’ fees, expert witness fees, and costs under, 29 U.S.C. § 794a, 42 U.S.C. §§ 2000e-5 and
                                                                            22   2000e-16, 29 U.S.C. § 2617, or any other appropriate statute or law which provides for attorneys’
                                                                            23   fees, and hereby requests recovery of his attorneys’ fees and costs of suit in an amount according to
                                                                            24   proof.
                                                                            25

                                                                            26                                                   PRAYER
                                                                            27   Wherefore, Plaintiff prays for judgment as follows:
                                                                            28             1.    For a money judgment representing compensatory damages including lost wages,
                                                                                                                             - 14 -
                                                                                                                                PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
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                                                                             1   earnings, retirement benefits and other employee benefits, and all other sums of money, together with
                                                                             2   interest on these amounts, according to proof;
                                                                             3           2.      For injunctive relief including reinstatement to his former employment position with
                                                                             4   all rights, duties and responsibilities;
                                                                             5           3.      For attorneys’ fees, expert witness fees, and costs of suit;
                                                                             6           4.      For prejudgment and post-judgment interest;
                                                                             7           5.      For an award of exemplary and punitive damages in an amount sufficient to punish
                                                                             8   defendant and deter future acts of unlawful conduct against other individuals, in an amount according
                                                                             9   to proof; and
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                                                                            10           6.      For any other relief that is just and proper.
                                                                            11

                                                                            12                                              JURY TRIAL DEMAND
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THE ERLICH LAW FIRM




                                                                            13           Plaintiff demands trial by jury of all issues, except for attorneys’ fees.
                                                                            14

                                                                            15   Date: July 31, 2012                            THE ERLICH LAW FIRM
                                                                            16                                                  /S/ Jason M. Erlich
                                                                                                                                _________________________
                                                                            17                                                  By: Jason M. Erlich, Esq.
                                                                                                                                Attorney for Plaintiff Michael Villalobos
                                                                            18

                                                                            19

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                                                                                                                                 - 15 -
                                                                                                                                 PLAINTIFF MICHAEL VILLALOBOS’S FIRST AMENDED COMPLAINT
                                                                                                                                                                  CASE # CV 12-00138-MEJ
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                                                                             1   CASE NAME: Michael Villalobos v. Tom Vilsack, U.S. Department of Agriculture
                                                                                 United States District Court, Northern District of California
                                                                             2   Case No. CV 12-00138-MJ

                                                                             3                                           CERTIFICATE OF SERVICE

                                                                             4            I declare that I am a resident of the State of California, I am not a party to this action, I am over
                                                                                 eighteen years of age, and I am employed in the County of San Francisco. My business address is 150 Post
                                                                             5   Street, Suite 742, San Francisco, CA 94108. On the date set forth below, I served the document(s) listed
                                                                                 below in the manner described below:
                                                                             6                                         FIRST AMENDED COMPLAINT
                                                                             7           BY UNITED STATES MAIL (Fed. R. Civ. P. 5(b)(2)(C).). I am personally familiar with the
                                                                                         business practice for collection and processing of correspondence for mailing with the United States
                                                                             8           Postal Service. Correspondence collected and processed is deposited with the United States Postal
                                                                                         Service that same day in the ordinary course of business. On this date, I placed the document(s) listed
                                                                             9           above for collection and mailing with postage fully pre-paid following ordinary business practices.
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                                                                            10           BY EXPRESS MAIL (Fed. R. Civ. P. 5(b)(2)(C).). I am personally familiar with the business
                                                                                         practice for collection and processing of correspondence for overnight delivery. On this date, I placed
                                                                            11           the document(s) listed above for collection with an overnight delivery service following ordinary
                                                                                         business practices and arranged for delivery on the next business day.
                                                                            12
                                   TELEPHONE: (415) 296-8420
THE ERLICH LAW FIRM




                                                                                         BY ELECTRONIC MAIL (Fed. R. Civ. P. 5(b)(2)(E).). Based on a court order or by agreement of
                                                                            13           the parties to accept service by electronic mail (“e-mail”) or electronic transmission, I caused the
                                                                                         document(s) listed above to be transmitted to the addressee(s) listed below.
                                                                            14
                                                                                         BY MESSENGER SERVICE Fed. R. Civ. P. 5(b)(2)(B).) I caused the document(s) listed above to
                                                                            15           be given to an authorized courier or messenger service for delivery by hand to the addressee(s) listed
                                                                                         below.
                                                                            16
                                                                                         ELECTRONIC COURT FILING (Fed. R. Civ. P. 5(d)(3).) I hereby certify that I electronically
                                                                            17           filed the foregoing with the Clerk of the Court using the CM/ECF system, which will send notification
                                                                                         of such filing to the attorneys denoted on the Court’s Electronic Mail Notice List. I hereby certify that
                                                                            18           I have caused this document to be mailed by the United States Postal Service and/or faxed to the non-
                                                                                         CM/ECF participants listed on the attached Manual Notice Service List.
                                                                            19
                                                                                         on the following party(ies) in this matter:
                                                                            20
                                                                                         Ann Reding
                                                                            21           Assistant United States Attorney
                                                                                         450 Golden Gate, Box 36055
                                                                            22           San Francisco CA 94102

                                                                            23           Attorney for DEFENDANT
                                                                                         TOM VILSACK, SECRETARY, U.S.
                                                                            24           DEPARTMENT OF AGRICULTURE

                                                                            25           I declare under penalty of perjury under the laws of the State of California that the information in this
                                                                                 declaration is true and correct.
                                                                            26
                                                                                         Executed on July 31, 2012, in the City and County of San Francisco, California.
                                                                            27
                                                                                                                                  /S/
                                                                            28                                             Sandy Lam
                                                                                                                                    -1-
                                                                                                                                                                      CERTIFICATE OF SERVICE
                                                                                                                                                                     CASE NO. CV 12-00138-MJ
